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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA    :
                            :
    v.                      :                        Case No. 1:21-CR-00552(DLF)
                            :
KENNETH JOSEPH OWEN THOMAS, :
                            :
              Defendant.    :


                           UNITED STATES’ MOTION
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America hereby moves this Court to exclude the time within which

the trial must commence under the Speedy Trial Act, 18 U.S.C. § 3161, on the basis that the ends

of justice served by taking such actions outweigh the best interest of the public and the defendant

in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and

(iv), from the date this Court enters an Order on this motion through and including the day prior

to the commencement of trial, May 14, 2023.

       Government counsel attempted to reach defense counsel for consent but received no

response.

                                 FACTUAL BACKGROUND

       The Second Superseding Indictment (ECF No. 49) charges defendant Thomas with

violations of 18 U.S.C. § 231(a)(3) (Civil Disorder), 18 U.S.C. § 1512(c)(2) (Obstruction of an

Official Proceeding) and 2 (Aiding and Abetting), 18 U.S.C § 111(a)(1) - Assaulting, Resisting,

or Impeding Certain Officers, 18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted

Building or Grounds, 18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted

Building, 18 U.S.C. § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or
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Grounds, 40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in the Capitol Grounds or Buildings,

and 40 U.S.C. § 5104(e)(2)(F) - Act of Physical Violence in the Capitol Grounds or Buildings.

       Trial is currently scheduled to commence on May 15, 2023.

                                           ARGUMENT

       Section 3161(h) of the Speedy Trial Act sets forth certain periods of delay which the Court

must exclude from the computation of time within which an indictment must be filed. As is

relevant to this motion for a continuance, pursuant to subsection (h)(7)(A), the Court must exclude:

       Any period of delay resulting from a continuance granted by any judge on his own
       motion or at the request of the defendant or his counsel or at the request of the
       attorney for the Government, if the judge granted such continuance on the basis of
       his findings that the ends of justice served by taking such action outweigh the best
       interest of the public and the defendant in a speedy trial.

18 U.S.C. § 3161(h)(7)(A).     This provision further requires the Court to set forth its reasons for

finding that that any ends-of-justice continuance is warranted.       Id.   Subsection (h)(7)(B) sets

forth a non-exhaustive list factors that the Court must consider in determining whether to grant an

ends-of-justice continuance, including:

       (i)      Whether the failure to grant such a continuance in the proceeding would be
                likely to make a continuation of such proceeding impossible, or result in a
                miscarriage of justice.

       (ii)     Whether the case is so unusual or so complex, due to the number of
                defendants, the nature of the prosecution, or the existence of novel questions
                of fact or law, that it is unreasonable to expect adequate preparation for
                pretrial proceedings or for the trial itself within the time limits established
                by this section.
                ...

       (iv)     Whether the failure to grant such a continuance in a case which, taken as a
                whole, is not so unusual or so complex as to fall within clause (ii), would
                deny the defendant reasonable time to obtain counsel, would unreasonably
                deny the defendant or the Government continuity of counsel, or would deny
                counsel for the defendant or the attorney for the Government the reasonable
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               time necessary for effective preparation, taking into account the exercise of
               due diligence.

18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).   Importantly, “[i]n setting forth the statutory factors that

justify a continuance under subsection (h)(7), Congress twice recognized the importance of

adequate pretrial preparation time.” Bloate v. United States, 559 U.S. 196, 197 (2010) (citing

§3161(h)(7)(B)(ii), (B)(iv)). An interests of justice finding is within the discretion of the Court.

See, e.g., United States v. Rojas-Contreras, 474 U.S. 231, 236 (1985); United States v. Hernandez,

862 F.2d 17, 24 n.3 (2d Cir. 1988). “The substantive balancing underlying the decision to grant

such a continuance is entrusted to the district court’s sound discretion.” United States v. Rice, 746

F.3d 1074 (D.C. Cir. 2014).

       In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).            The need for

reasonable time to organize, produce, and review voluminous discovery and to prepare for trial are

among the grounds that Courts of Appeals have routinely held sufficient to grant continuances and

exclude the time under the Speedy Trial Act.      See, e.g., United States v. Bikundi, 926 F.3d 761,

777-78 (D.C. Cir. 2019).




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                                          CONCLUSION

       WHEREFORE, the government respectfully requests that the Court grant this motion and

exclude the time within which the trial must commence under the Speedy Trial Act, 18 U.S.C.

§ 3161 et seq., up to and through May 14, 2023, on the basis that the ends of justice served by

taking such actions outweigh the best interest of the public and the defendants in a speedy trial

pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv).



                                              Respectfully submitted,

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